Case 2:11-cr-00107-WFN   ECF No. 1252   filed 11/07/12   PageID.5589 Page 1 of 6
Case 2:11-cr-00107-WFN   ECF No. 1252   filed 11/07/12   PageID.5590 Page 2 of 6
Case 2:11-cr-00107-WFN   ECF No. 1252   filed 11/07/12   PageID.5591 Page 3 of 6
Case 2:11-cr-00107-WFN   ECF No. 1252   filed 11/07/12   PageID.5592 Page 4 of 6
Case 2:11-cr-00107-WFN   ECF No. 1252   filed 11/07/12   PageID.5593 Page 5 of 6
Case 2:11-cr-00107-WFN   ECF No. 1252   filed 11/07/12   PageID.5594 Page 6 of 6
